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                                  Exhibit 1:
  Attachment C1 to I-70 East ROD 1: Phase 1 (Central 70 Project):
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       LIST OF ACRONYMS

       CDOT               Colorado Department of Transportation
       CFR                Code of Federal Regulations
       CMCA               Colorado Motor Carriers Association
       DRCOG              Denver Regional Council of Governments
       EIS                Environmental Impact Statement
       FHWA               Federal Highway Administration
       FTA                Federal Transit Administration

       NATA               North Area Transportation Alliance

       NEPA               National Environmental Policy Act

       PACT               Preferred Alternative Collaborative Team
       RTD                Regional Transportation District




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  1 PURPOSE OF THIS REPORT

  Due to the intense public interest regarding the Interstate 270/Interstate 76 (I-270/I-76) Reroute
  Alternative, the Interstate 70 (I-70) Project Team prepared this memorandum to explain in detail why this
  alternative is not reasonable given the purpose and need for the project and why it was not fully evaluated
  as part of the range of reasonable alternatives for the I-70 East project. Based on public comments received
  on the I-70 East Final Environmental Impact Statement (EIS), the I-70 Project Team reviewed several items
  related to this alternative, including the cost estimate and rerunning the traffic model, and this
  memorandum has been revised accordingly. This memorandum supersedes previous versions.


  2 BACKGROUND

  Currently, I-70 between Interstate 25 (I-25) and Tower Road is one of the most heavily traveled and
  congested highway corridors in the region and state. The corridor provides a number of important
  transportation functions, including interstate and intrastate travel along I-70; regional access from
  downtown Denver and the metropolitan area to Denver International Airport; linkage as an inner beltway
  between I-225 and I-270; and access to adjacent employment areas, neighborhoods, and new development
  centers. In July 2003, the EIS process began as the I-70 East Corridor EIS, which looked at both highway and
  transit solutions along the I-70 corridor from I-25 to Tower Road. The process was a joint effort among
  several agencies, including the Colorado Department of Transportation (CDOT), the Federal Highway
  Administration (FHWA), the Regional Transportation District (RTD), and the Federal Transit Administration
  (FTA). Using input from scoping, data gathering, and technical analysis, the project purpose and need was
  developed. After the draft purpose and need was developed, it was reviewed and discussed with the
  Intergovernmental Coordination and Compliance Committee and the Executive Oversight Committee and
  then presented to the public in draft form for review and input at corridor-wide meetings in February 2004.
  In June 2006, it was determined that the highway and transit elements of the I-70 East Corridor EIS process
  served different travel markets, were located in different corridors, and had different funding sources.
  Therefore, the highway and transit elements were separated into two EIS processes. When the processes
  were separated, CDOT and FHWA reviewed the purpose and need again to determine if it was still
  applicable. Minor adjustments were necessary to remove the transit elements from the purpose and need
  and it was again made available for public review at a corridor-wide meeting held in December 2008.

  The purpose of the project is to implement a transportation solution that improves safety, access, and
  mobility and addresses congestion on I-70 in the project area. The need for this project results from the
  following issues:

         Transportation infrastructure deficiencies
         Increased transportation demand
         Limited transportation capacity
         Safety concerns




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  Several alternatives for the project were developed based on input from the community at corridor-wide
  meetings, through involvement with affected agencies at scoping and committee meetings, and from
  previous studies and new concepts developed by the project team.

  One of the alternatives initially considered would reroute I-70 along I-270 and I-76 (shown in Figure 1). The
  existing viaduct between Brighton Boulevard and Colorado Boulevard would be removed, leaving 46th
  Avenue in place. 46th Avenue and the remaining portions of I-70 from Colorado Boulevard to I-270 and
  47th/48th Avenue from Brighton Boulevard to the existing I-70/I-76 interchange would be converted to a
  six-lane principal arterial. This alternative also would require the reconstruction of the I-76/I-270/I-25/U.S.
  Highway 36 (US 36) interchanges; modifications to the I-25/I-70 interchange; improvements to I-25
  between the I-270/I-76 Reroute Alternative and the existing I-70; and major widening and reconstruction
  of I-270 and I-76 (currently only four lanes each) for approximately 13 miles to accommodate relocated
  traffic. Note this has been updated from 12 miles to 13 miles because the distance is actually 12.76 miles.

  Figure 1    I-270/I-76 Reroute Alternative

                                      0
                                                                                  I-270/1-76 Reroute


                   Actit. Ave




                                                                                                        56th Ave




                     38th Ave                                              Z                       6
                                                                      Z
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  It is important to note that the I-270/I-76 Reroute Alternative described above has changed since the
  original 2008 Draft EIS in order to be more consistent with what a local advocacy group, Unite North Metro
  Denver, has been showing as an alternative that the group feels would be better than FHWA’s and CDOT’s
  Preferred Alternative. The Unite North Metro Denver group was formed to advocate for the I-270/I-76
  Reroute Alternative. The group has put together a video and other materials that show the group’s vision
  for the rerouting of I-70 and the six-lane arterial that would replace I-70. Therefore, CDOT and FHWA used
  that information when developing traffic modeling and cost estimates to ensure those are representative
  of what’s being proposed by the group.

  After identifying the initial alternatives, the project team performed a four-level screening process to refine
  and evaluate the alternatives using more detailed goals and objectives that were developed based on the
  project’s purpose and need. CDOT and FHWA eliminated the I-270/I-76 Reroute Alternative from
  consideration as part of the first level of this screening process, as documented in the 2008 Draft EIS.


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  After the 2008 Draft EIS was published, based on requests and comments received from the public, the
  project team reexamined the I-270/I-76 Reroute Alternative as part of a comprehensive review of past
  decisions. The intent of this reexamination was to ensure that past decisions and assumptions were still
  valid given new information and community feedback.

  The additional analysis confirms the earlier decision to remove the I-270/I-76 Reroute Alternative from
  consideration. Described below are the primary reasons for not advancing this alternative as a result of the
  additional analysis.


  3 REASONS FOR ELIMINATION OF THE I-270/I-76
    REROUTE

  According to the Council on Environmental Quality’s National Environmental Policy Act (NEPA) regulations
  in 40 Code of Federal Regulations (CFR) §§1500.2(e), 1502.1, and 1502.14(a), the NEPA process should be
  used to identify and fully and fairly assess the reasonable alternatives to proposed actions that will avoid or
  minimize adverse effects of the actions on the quality of the human environment. Reasonable alternatives
  include those that are practical or feasible from a technical and economic standpoint and using common
  sense, rather than simply desirable from the standpoint of the applicant. The reasonable alternatives
  should all be rigorously explored and objectively evaluated. For alternatives that were eliminated from
  detailed study, the reasons for their elimination should be discussed briefly. This section explains why the
  I-270/I-76 Reroute Alternative is not a reasonable alternative and was eliminated.

  The overall reason for the elimination of this alternative is that it does not meet the project’s purpose and
  need, which is to implement a transportation solution that improves safety, access, and mobility and
  addresses congestion on I-70. CDOT based this conclusion on the following considerations. It is important
  to note that no single consideration was the sole reason for elimination of the alternative, but rather it was
  the combination of them that made the alternative unreasonable.

  3.1     Does not Improve Congestion and Safety Conditions

  The I-270/I-76 Reroute Alternative does not meet the project’s purpose and need because it would add
  safety and congestion problems rather than improving those that exist today. While, in a sense, removing
  I-70 would “eliminate” the current congestion and safety problems the project seeks to remedy (as there
  would no longer be an I-70 on that alignment), after its removal, traffic volumes on local streets will
  increase and transfer the safety and mobility problems from I-70 to the local network, including a restored
  46th Avenue that would take its place. In essence, as explained further below, the same issues that
  underlie the present need for the project would only be duplicated and compounded in the same location,
  albeit on different roads, by the removal and reroute of I-70.

  A travel analysis was performed using the Denver Regional Council of Governments (DRCOG) 2035 Regional
  Travel Demand Model (Version 5.0, the most recently available version), which simulated the rerouting of
  I-70 between Wadsworth Boulevard (essentially I-76) and Central Park Boulevard (essentially I-270) on the
  I-76 and I-270 corridors in conjunction with a new 46th Avenue principal arterial. Following the publication
  of the Final EIS, the travel analysis was updated to be more consistent with the design Unite North Metro
  Denver proposes. The four-lane option for 46th/48th Avenue has been dropped because the Unite North


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  Metro Denver video illustrates 46th/48th Avenue as six lanes. For this analysis, I-270 and I-76 were
  modeled as four lanes, five lanes, and six lanes in each direction, and the new 46th/48th Avenue arterial
  was modeled as six lanes. I-270 and I-76 were modeled using three scenarios because Unite North Metro
  Denver has shown both eight lanes and 10 lanes on those roads in their materials over the years, but
  CDOT’s traffic analysis has shown that 12 lanes would be needed for operations.

  Currently, there are 684 businesses within the quarter-mile buffer on each side of I-70 between I-25 and
  I-270, with approximately 11,408 employees who would lose highway access with rerouting I-70 and will be
  forced to use surface streets. It is unknown how many businesses are located west of I-25 since that is
  outside of the I-70 East project area, but similar conditions may exist. Rerouting I-70 while leaving 46th
  Avenue at its current location encourages highway users needing to access these locations to use 46th
  Avenue to reach their destinations rather than staying on I-70. Rerouting I-70 will also force delivery trucks
  and other large vehicles to use 46th Avenue frequently to reach the industrial areas and businesses located
  near the existing I-70. The resulting high traffic volumes and the truck traffic on 46th Avenue could degrade
  the quality of the neighborhood and cause safety concerns for neighborhoods, pedestrians, bicyclists, and
  motorists.

  Figure 2 shows the potential effect on daily traffic if I-70 was to be rerouted onto an eight-lane (four lanes
  in each direction) alignment along I-270 and I-76 and a six-lane principal arterial was constructed in its
  place. Roadways that are shown in green would attract lower traffic levels if I-70 was rerouted while those
  in yellow, orange, and red would carry higher levels of traffic. In general, most of the north-south arterials
  are relieved (traffic is reduced), while most of the west-east arterials realize an increase in traffic. This
  pattern is caused by a few factors including; an insufficient supporting arterial grid network, fewer access
  options to the highway, and movement of the only east to west freeway further to the north.

  As shown in Figure 2, the I-270/I-76 Reroute Alternative would not have a well-developed or planned
  arterial grid network immediately surrounding the highway in the area between Pecos Street and Brighton
  Boulevard. In addition, the I-270/I-76 Reroute Alternative would not have as many accesses (interchanges)
  where vehicles can move to and from the highway. Finally, I-70, which is the only east-west freeway
  through Denver would be moved to the north and would result in drivers having to travel more distance to
  complete trips. As a result, drivers would not drive the extra distance from the areas around the existing
  I-70 to access the rerouted I-70, primarily due to a lack of north-south arterials, but would choose to use
  the existing local street networks, mostly east-west arterials, to complete trips. The local street networks
  most likely would not have the capacity to accommodate the forecasted traffic volumes; therefore, the
  increase in the local street traffic would result in safety issues and major delays on many of the local
  streets. The responsibility for improving these problems would fall on the local jurisdictions.

  Figure 3 and Figure 4 show similar maps for the ten lane and twelve lane I-270/I-76 Reroute Alternative
  scenarios, respectively. These scenarios show more arterials that would experience a reduction in volumes.
  These figures show that adding additional capacity (more lanes in each direction on the I-270/I-76 Reroute
  Alternative) results in the east-west roadways carrying less traffic, while north-south routes would tend to
  become more congested by carrying more vehicles. The main reason for this is because more vehicles
  would be able to use the highway, so rather than using congested east-west surface streets, drivers would
  choose to make the extra drive north-south to get to the highway.




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Figure 2     Change in daily traffic with 46th Avenue as a six-lane principal arterial




        More than 50% reduction in daily traffic   More than 50% increase in dally traffic   WA                                       • Schools                  - — County Boundaries
        25% to 50% reduction in daily traffic      25% to 50% increase in daily traffic      Less than 5% change in daily traffic   • Recreation centers            --- City Boundaries
        10% to 25% reduction in daily traffic      10% to 25% increase in daily traffic                                                  Parks
        5% to 10% reduction in daily traffic       5% to 15% increase in daily traffic                                                   Environmental justice




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Figure 3     Change in daily traffic (10 lane I-270/I-76 Reroute Alternative Scenario)




    Legend
    1P N/A
            -50%
    -      -50% to -25%
           -25% to -10%
           -10% to -5%
           + / - 5%
           5% to 10%
    -      10% to 25%
    -      25% to 50%
           > 50%




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Figure 4          Change in daily traffic (12 lane I-270/I-76 Reroute Alternative Scenario)




       E lhAve




   Legend                        41St Ave



  1P N/A
  -              < -50%
  -              -50% to -25%
   -             -25% to -10%
                 -10% to -5%                                                  I   ...-.Lr.    —
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 Table 1 shows the projected bi-directional traffic for each of the I-270/I-76 Reroute Alternative lane
 configuration scenarios (8, 10, and 12 lanes) for the proposed six-lane 46th/48th Avenue arterial. The table
 also shows the projected volumes on 46th Avenue for the Preferred Alternative identified in the Final EIS
 and the comparisons between the projected traffic volumes for each of the I-270/76 Reroute Alternative
 scenarios to those from the Preferred Alternative. The increase in 46th/48th Avenue traffic introduces
 safety, access, and mobility issues in the surrounding neighborhoods, and therefore, fails to address the
 purpose and need of the project.

 Table 1             46th/48th* Avenue 2035 traffic volumes

                                                                             2035 Average Daily Traffic
                                                         8-Lane                       10-Lane                      12-Lane
        46th Avenue Section Between      Final EIS     I-270/I-76                    I-270/I-76                   I-270/I-76
                                                                       %                              %                           %
                                        Preferred       Reroute                       Reroute                      Reroute
                                                                    Change**                       Change**                    Change**
                                        Alternative   Alternative                   Alternative                  Alternative
                                                       Scenario                      Scenario                     Scenario
     I-270 Ramps & Quebec St.                -          79,150           -            76,050              -        74,100         -
     Quebec St. & Monaco St.              17,900        76,000        325%            74,200         315%          72,700        306%
     Monaco St. & Ivy St.                 15,050        57,500        282%            55,950         272%          54,050        259%
     Ivy St. & Holly St.                  15,900        57,350        261%            55,750         251%          53,650        237%
     Holly St. & Dahlia St.                5,800        56,950        882%            54,800         845%          52,000        797%
     Dahlia St. & Colorado Blvd.           2,550        50,300        1873%           47,400        1759%          45,100       1669%
     Colorado Blvd. & Steele St.          18,700        52,500        181%            49,500         165%          46,800        150%
     Steele St. & Clayton St.             10,700        67,700        533%            63,650         495%          60,350        464%
     Clayton St. & Josephine St.           9,500        66,700        602%            64,200         576%          61,800        551%
     Josephine St. & York St.             15,100        66,100        338%            63,550         321%          60,000        297%
     York St. & Brighton Blvd.            10,350        64,700        525%            62,200         501%          59,350        473%
     Brighton Blvd. & E 47th Ave.            -          53,000           -            48,850              -        46,700         -
     E 47th Ave. & Washington St.            -          53,300           -            48,900              -        46,650         -
     Washington St. & Lincoln St.            -          78,900           -            76,400              -        73,650         -
     Pecos St. & I-25 Ramps                  -          46,500           -            43,550              -        42,200         -
     Pecos St. & Zuni St.                    -          42,650           -            40,200              -        39,200         -
     Zuni St. & Federal Blvd.                -          41,250           -            38,950              -        38,100         -
     Federal Blvd. & Lowell Blvd.            -          51,300           -            49,500              -        47,900         -
     Lowell Blvd. & Tennyson St.             -          50,250           -            48,350              -        46,850         -
     Tennyson St. & Sheridan Blvd.           -          51,350           -            49,050              -        47,650         -
     Sheridan Blvd. & Harlan St.             -          51,350           -            49,950              -        44,800         -
     Harlan St. & I-76 Ramps                 -          44,900           -            42,550              -        41,400         -
 Source: 2035 DRCOG Compass 5.0 model.
 * In the Final EIS Preferred Alternative – Partial Covered Lowered with Managed Lanes (PCL-ML), 46th Avenue will be continuous
 between Brighton Boulevard and Quebec Street east of I-25. In the I-270/I-76 Reroute Alternative scenarios, I-70 would be removed
 between I-76 and I-270 and replaced with a six-lane principal arterial that is assumed to be 48th Avenue west of I-25 and 46th Avenue
 east of I-25 to provide continuous connectivity between I-76 and I-270.
 **The percent change is compared to the Final EIS Preferred Alternative – PCL-ML. A positive change means the I-270/I-76 Reroute
 Alternative scenario results in an increase in traffic on that section of roadway and a negative change means a decrease in volume on
 that section of roadway.




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 The projected average daily traffic on 46th/48th Avenue ranges from about 40,000 to about 79,000
 vehicles per day (vpd) in 2035 in all I-270/I-76 Reroute Alternative scenarios. West of I-25, the volumes
 would range between about 40,000 to 50,000 vpd, while east of I-25, the volumes would range between
 50,000 and 79,000 with typical volumes ranging between 50,000 and 65,000 vpd in the area between
 Brighton Boulevard and Colorado Boulevard. These volumes would result in congested conditions during
 the peak hours and would require the addition of multiple turn lanes to accommodate traffic demands,
 making the roadway as much as eight to ten lanes wide at major intersections (as much as 150 feet in
 width to accommodate curbing, medians, sidewalks, and landscaping). The traffic volumes on 46th Avenue
 in the I-270/I-76 Reroute Alternative traffic analysis are typically three to eight times higher than the traffic
 volumes in the Preferred Alternative.

 It should be noted that the more lanes added to the I-270/I-76 Reroute Alternative alignment would result
 in decreasing volumes on the 46th/48th Avenue arterial. The addition of two lanes (one in each direction)
 to I-270/I-76 results in about a three to five percent reduction in traffic on the 46th/48th Avenue arterial.
 Thus, with a twelve lane I-270/I-76 Reroute Alternative scenario, the traffic on the 46th/48th Avenue
 arterial would be less than 10 percent lower than if there were eight lanes and would still be between
 50,000 and 60,000 vpd in the area between Brighton Boulevard and Colorado Boulevard.

 For comparative purpose, a review of traffic counts collected along major six-lane arterials in the greater
 Denver area found a few arterials that are currently experiencing volumes similar to those projected to
 occur on 46th/48th Avenue with the I-270/I-76 Reroute Alternative scenario. It should be noted that a
 review of the regional traffic counts did not reveal many arterials with volumes this high; typical six-lane
 arterials are currently accommodating less than 45,000 vpd. Based on counts downloaded from the DRCOG
 website that were collected in the last two to three years, the following arterials are currently experiencing
 similar conditions to what 46th/48th Avenue is projected to experience in 2035 with the I-270/I-76 Reroute
 Alternative:

        Colorado Boulevard on the section from I-25 to I-70 currently has volumes between 45,000 and
         65,000 vpd, which is still less than the highest projected volumes for 46th/48th Avenue. This portion
         of Colorado Boulevard typically has six lanes plus turn lanes at most intersections, similar to what
         46th/48th Avenue would require with the projected traffic volumes.
        Wadsworth Boulevard on the section from US 285 to I-70 currently has volumes between 45,000
         and 60,000 vpd. This portion of Wadsworth Boulevard typically has six lanes plus turn lanes at most
         of the major intersections similar to what 46th/48th Avenue would require with the projected
         traffic volumes.
        Arapahoe Road from University Boulevard to Parker Road currently has volumes between 35,000
         and 65,000 vpd. This portion of Arapahoe Road typically has six lanes plus turn lanes at most of the
         major intersections similar to what 46th/48th Avenue would require with the projected traffic
         volumes.

 If I-70 was rerouted and 46th/48th Avenue became a boulevard, there would be residential units directly
 adjacent to the roadway. Based on the projected traffic volumes that would use the boulevard, the
 residences along the roadway would experience congested conditions for many hours of the day. An
 example of this is shown in Figure 5 and Figure 6, which show existing conditions along Colorado Boulevard




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 as it passes through residential areas along the roadway. These pictures are very similar to what the
 46th/48th Avenue boulevard would look like through the residential areas.

 Figure 5     Example of congested conditions expected along 46th/48th Avenue




 Source: Photo taken by CDOT on November 23, 2016 near Colorado Boulevard and 5th Avenue at approximately 3:00pm.

 Figure 6     Example of congested conditions expected along 46th/48th Avenue (zoomed in)




 Source: Photo taken by CDOT on November 23, 2016 near Colorado Boulevard and 5th Avenue at approximately 3:00pm.



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 Table 2 shows the projected bi-directional traffic for each of the I-270/I-76 Reroute Alternative lane
 configuration scenarios (eight, 10, and 12 lanes) for the I-76/I-270 alignment. The table also shows the
 projected volumes on these highways for the Preferred Alternative identified in the Final EIS. The table also
 contains comparisons between the projected traffic volumes on I-76/I-270 for each of the scenarios and
 those from the Preferred Alternative.

 The projected volumes on the I-270/I-76 Reroute Alternative alignment (I-76/I-270) are nearly double those
 of the Preferred Alternative for all lane scenarios. Volumes on the rerouted I-70 would range between
 about 100,000 and more than 135,000 vpd in one direction. These volumes are similar to those projected
 on I-70 in the Preferred Alternative and would require at least ten to twelve lanes to accommodate the
 traffic demand. The more lanes added to the I-270/I-76 Reroute Alternative alignment would result in a
 higher volume on the highway and a reduction in volume on the local streets, including a reduction of
 traffic on the 46th/48th Avenue arterial.

 Table 2         I-270/I-76 2035 Average Daily Traffic

                                                          2035 Average Daily Traffic (6 Lanes on 46th/48th Avenue)
                                                        8-Lane                     10-Lane                     12-Lane
          Section Between              Final EIS      I-270/I-76                  I-270/I-76                  I-270/I-76
                                                                       %                           %                           %
                                      Preferred        Reroute                     Reroute                     Reroute
                                                                    Change**                    Change**                    Change**
                                      Alternative    Alternative                 Alternative                 Alternative
                                                      Scenario                    Scenario                    Scenario
  I-70 & Quebec St.                   111,500       224,700         102%         245,900         121%        258,800         132%
  Quebec St. & Vasquez Blvd.          123,800       218,200          76%         243,300          97%        258,700         109%
  Vasquez Blvd. & Brighton Blvd.      126,300       242,900          92%         269,300         113%        285,300         126%
  Brighton Blvd. & York St.           126,300       247,600          96%         273,600         117%        289,500         129%
  I-270 & I-25                        107,700       197,000          83%         213,700          98%        223,000         107%
  I-25 & Pecos St.                    109,800       201,800          84%         217,900          98%        226,700         106%
  Pecos St. & Federal Blvd.           110,500       203,600          84%         219,000          98%        227,000         105%
  Federal Blvd. & Sheridan Blvd.      115,600       208,000          80%         221,300          91%        227,000          96%
  Sheridan Blvd. & I-70               113,000       193,700          71%         203,600          80%        207,900          84%
 Source: 2035 DRCOG Compass 5.0 model.
 * In the Final EIS Preferred Alternative – Partial Covered Lowered with Managed Lanes (PCL-ML), 46th Avenue will be continuous
 between Brighton Boulevard and Quebec Street east of I-25. In the I-270/I-76 Reroute Alternative scenarios, I-70 would be removed
 between I-76 and I-270 and replaced with a six-lane principal arterial that is assumed to be 48th Avenue west of I-25 and 46th Avenue
 east of I-25 to provide continuous connectivity between I-76 and I-270.
 **The percent change is compared to the Final EIS Preferred Alternative – PCL-ML. A positive change means the I-270/I-76 Reroute
 Alternative scenario results in an increase in traffic on that section of roadway and a negative change means a decrease in volume on
 that section of roadway.


 3.2       Negatively Affects Mobility

 There would be an increase in out-of-direction travel, causing mobility issues. Of the traffic heading west
 on I-70, approximately 50 percent continues past I-25, staying on I-70. The I-270/I-76 Reroute Alternative
 adds two miles of out-of-direction travel for these vehicles. Thirty-five percent of the traffic heading west
 on I-70 exits to southbound I-25. This alternative adds four miles of out-of-direction travel for these
 vehicles, resulting in additional travel times.


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 3.3      Eliminates Emergency Access and Route Redundancy,
          Reducing Safety

 I-70 and I-270 serve as reliever routes when one highway or the other becomes extremely congested or
 closed due to major incidents/accidents. With the I-270/I-76 Reroute Alternative, the redundancy of the
 highway network, which is important for emergency response in the area, is limited. If I-70 was rerouted to
 combine with I-270 and I-76, there would be no alternate highway connecting the Denver neighborhoods
 to the rest of the region. This concern has been brought up several times by Adams County, Aurora, the
 Colorado Motor Carriers Association (CMCA), Commerce City, and the City and County of Denver (see
 Section 3.5.1 below).

 3.4      Financial Feasibility

 This alternative requires close to 13 miles of major highway widening along I-270 and I-76 to accommodate
 the relocated traffic and is estimated to cost substantially more than the Partial Cover Lowered Alternative.
 The high-level cost estimates for the I-270/I-76 Reroute Alternative have ranged up to approximately $4
 billion. The cost estimates were prepared by the project team and verified by City and County of Denver
 staff. During the Final EIS review period, the I-70 Project Team received numerous comments that the cost
 estimate was too high. Therefore, a new cost estimate was prepared by CDOT, which came in at
 approximately $3.2 billion (see below for what is and what is not included in this cost estimate). This would
 increase the project construction cost by approximately three times when considering Phase 1 of the
 Preferred Alternative is estimated to cost $1.1 billion and this estimate doesn’t include several necessary
 items such as improvements to I-70 east of the existing I-70/I-270 interchange or updates to the existing
 I-70/I-25 interchange (see below for a full list of what’s not included). Also, the Bridge Enterprise funding
 that the I-70 East project is receiving ($850 million) would not be available for the I-270/I-76 Reroute
 Alternative because none of the bridges along I-270 and I-76 are rated as poor, which means that they are
 not eligible. The increase in construction cost and lack of Bridge Enterprise funding essentially removes the
 chances of near-term funding for a reroute project.

 This estimate is a high-level cost estimate based on typical construction costs for bridge and highway
 construction per lane mile and average right-of-way costs based on recent projects. The following list
 includes the assumptions used in the updated cost estimate for the I-270/I-76 Reroute Alternative:

         Complete reconstruction of the entire length of the I-270/I-76 Reroute Alternative necessitated by
          structural issues due to the highways being built on large amounts of fill over landfills. Some areas
          could require up to 20 feet of unclassified excavation.
         12 lanes total with lanes and shoulders built to current safety standards. Note that this includes the
          existing four lanes of I-76 and I-270 traffic plus an additional eight lanes that would be needed to
          accommodate the rerouted I-70 traffic. Lanes and shoulders were assumed to be 12 feet wide,
          which is the standard for lanes and standard for shoulders on official hazardous materials routes
          (I-270 has this designation). A four-foot managed lane buffer and two foot-median barrier were
          also calculated into the width.
         Reconstruction of all mainline bridges to accommodate 12 lanes with shoulders built to current
          standards. An additional 10 percent was added to the bridge lengths to accommodate wider spans
          for improvements to local roads, bikeways, sidewalks, etc., in the future. Ramp bridge structures


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         were accounted for by assuming 25 percent of the future mainline bridge length multiplied by 38
         feet, which is the standard ramp bridge width.
        Reconstruction of ramps and auxiliary lanes. Ramp and auxiliary lane pavement costs were
         accounted for by assuming this value to be 20 percent of the mainline pavement quantities.
        Interchange reconstruction at I-70/I-270, I-270/I-76/US 36, I-76/I-25, and I-76/State Highway 121.
         The interchanges at I-270/I-76/US 36 and I-76/I-25 would require substantial improvements and
         may become new “mousetrap” types of interchanges (similar to the existing I-70/I-25
         “mousetrap”).
        Culverts/drainage throughout the length of the reroute. It was assumed that there would be one
         eight-foot by six-foot box culvert per mile. The lengths were assumed to be the width of the
         roadway plus an additional 100 feet to account for the embankment.
        Potential noise walls that would be required for neighborhoods along the reroute. It was assumed
         that there would be noise walls required for 10 percent of the corridor on each side of the highway
         and that they would be 15 feet tall.
        Structural and embankment walls throughout the length of the reroute. Structural walls were
         assumed to be three times the bridge width and 15 feet high. Embankment walls were assumed to
         be 10 percent of the length of the corridor and 15 feet high.
        Hazardous materials clean-up/disposal/other related costs. The reroute goes through industrial
         areas with known hazardous materials contamination. Hazardous materials mitigation was
         assumed at $35 million. This estimate only accounts for encountering a moderate amount of
         possible contaminants in this heavy manufacturing and warehousing area; if significant
         contamination is encountered, this cost would increase.
        Railroad work to accommodate crossings. Railroad work was assumed at $15 million.
        Work over drainageways and other waterways that would take extra precaution, construction
         efforts, and mitigation (for example, local roads, Sand Creek, South Platte River, Clear Creek,
         floodplains, ponds, lakes, gravel pits, and natural areas). This was assumed to be 6 percent of the
         cost of major items for drainage costs.
        Environmental documentation to satisfy NEPA (likely an EIS). This cost was assumed to be $40
         million. The area that would be included is much larger than the current EIS and will require
         substantially more work to complete.
        Environmental Justice mitigation because there are environmental justice populations along the
         reroute that would be impacted. This was assumed to be $15 million because the reroute wouldn’t
         include a highway cover with amenities, upgrades to a school, or as much mitigation towards
         replacement housing or home upgrades.
        Environmental mitigation and standard best management practices during construction. This was
         estimated at 8 percent of the project cost and does not include Environmental Justice or hazardous
         materials mitigation. This only estimates a relatively standard cost for mitigating impacts to other
         environmental resources and communities; if any highly sensitive or important resources are
         discovered, the cost would increase.



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         Right-of-way costs along I-76 and I-270 (not all of the land is existing CDOT property). This was
          estimated to be $110 million based on the potential need to acquire 39 industrial/commercial
          properties and 20 residential properties.
         Removing I-70 and the viaduct between I-270 and I-76 and Brighton Boulevard.
         Converting I-70 to a six-lane principal arterial between I-270 and I-76. Note that the conversion is
          included in the cost estimate, but it would not be work done by CDOT. CDOT would
          remove/abandon the highway, but the condition would be left as a city street and the local
          government(s) along the route would need to convert the street into the six-lane principal arterial.
          It is important to note that this would require others to find funding to accomplish this conversion.
          Note the exclusions not included in the conversion below.
         Miscellaneous general items such as sidewalks, curb/gutter, excavation, disposal, etc.
 This cost estimate does not include:

         Costs to remove I-70 between Brighton Boulevard and Pecos Street, over Clear Creek and Sand
          Creek.
         Improvements to I-25 between I-76/I-270 and the existing I-70 that would be necessary to
          accommodate increased traffic on I-25 as a result of out of direction travel.
         Costs associated with improving the local road grid to disperse traffic and encourage alternate
          transportation.
         Costs associated with improvements to Brighton Boulevard needed to make it a gateway into the
          city.
         Costs associated with partial acquisitions and easements that may be needed.
         Costs for a six-lane arterial to cross Clear Creek and Sand Creek and the railroads.
         Modifications that would be necessary to the I-25/I-70 interchange to accommodate the six-lane
          boulevard and the increased north-south traffic on I-25.
         Improvements to I-70 east of the existing I-70/I-270 interchange area, which are included as part of
          the I-70 East Project.

 3.5      Additional Considerations

 3.5.1        Stakeholder Concerns

 CDOT has invested more than a decade seeking public input on this project, particularly from the adjacent
 neighborhoods and the communities most impacted by the project alternatives. The Preferred Alternative
 Collaborative Team (PACT)—consisting of community, business, and stakeholder agency representatives—
 was initiated after the publication of the Draft EIS in 2008 to identify the preferred alternative for the
 project. Based on additional analysis and community input, the group reached a consensus to keep I-70 at
 its current location. The PACT determined that keeping I-70 at its current location rather than rerouting or
 realigning it is the most beneficial to the surrounding communities, businesses, and the transportation
 system because of the amount of traffic that would use 46th Avenue if the highway was moved.



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 In addition, CDOT has received and continues to receive statements from Adams County, Adams County
 Economic Development, Aurora (Mayor’s Office and City Council), CMCA, Commerce City, Denver (Mayor’s
 Office and City Council), and the North Area Transportation Alliance (NATA) stating their opposition to
 rerouting I-70 from its current location.

 Adams County and Adams County Economic Development have expressed concerns about route
 redundancy during an incident, citing that from an incident response perspective, it is crucial that I-70, I-76,
 and I-270 remain separate, regional routes because a major incident on one of these freeways may require
 the other to be used to re-route traffic to mitigate for congestion delays. Additionally, I-270 is an important
 connection through Commerce City, whose economic development plans center around logistics and
 advanced manufacturing industries that rely on I-270 to provide easy and direct access to national and
 regional roadways. Realigning I-70 to I-270 would significantly alter the city's economic plans for this area,
 as well as other areas within Adams County.

 Aurora cites that I-70 is and will continue to serve as a key east-west mobility corridor for Aurora and the
 greater eastern metro area, so improvements should be completed on the existing I-70 corridor.

 The CMCA does not support a reroute of I-70, citing the PACT process, the impact to local communities
 along the reroute, additional miles traveled, costs, necessary widening of both I-76 and I-270 that would be
 needed to meet capacity requirements, and removal of east-west redundancy in the metro area. CMCA
 indicated that fully closing the I-70 segment between I-270 and I-76 would halt all east-west traffic
 movement in the corridor and commercial vehicles with no alternate route would be especially impacted
 by the lack of an alternate route.

 Commerce City has expressed continued opposition to any reroute of I-70, citing the decision of the PACT;
 the new, disproportionate impacts that would be placed on local communities with similar socio-economic
 challenges; the additional miles traveled by commuters and inter/intrastate travelers, which would result in
 increased costs and reduced air quality benefits; the additional capacity that would be traveling on routes
 that are already at maximum capacity; the necessary widening of I-76 and I-270, which would not meet the
 needed capacity for all three interstates at a reasonable cost; and the elimination of east-west route
 redundancy, a critical element in a robust transportation system. For emergency responders to hazardous
 materials shipments and commercial vehicles, having alternate routes is necessary to ensure safety of the
 traveling public.

 A letter received from Commissioner Eva Henry of Adams County, Mayor Michael Hancock of Denver, and
 Mayor Sean Ford of Commerce City expressed Adams County, Denver, and Commerce City’s opposition to
 move the highway from its current location. The letter cites the decision of the PACT; that it is crucial for
 I-70, I-76, and I-270 to remain separate, regional routes so incident responders have non-congested
 options on the freeway because these freeways also serve as critical evacuation routes from east to west;
 impacts that would occur to the region’s access to major attractions such as Dick’s Sporting Goods Park, the
 Rocky Mountain Arsenal National Wildlife Refuge, and the former Mile High Greyhound Park, which is
 planned as a major retail and professional site; significant impacts would occur that would alter economic
 growth planned for the area since Commerce City is a hub for logistics and advanced manufacturing; and
 the rapid deterioration and decreasing ability of I-270 to handle traffic volumes.

 Denver has repeatedly expressed the opinion that keeping I-70 on its existing alignment helps support
 economic development and revitalization plans in the area that Denver has termed the “Corridor of



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 Opportunity,” which is part of the North Denver Cornerstone Collaborative. Denver also has indicated that
 the Preferred Alternative, which will keep I-70 on its existing alignment, will have the greatest public
 benefit while minimizing negative impacts to the surrounding community. Denver remains an active
 partner to make sure the project minimizes impacts and reconnects the neighborhoods along I-70.

 NATA has expressed that the group does not support a reroute of I-70 because it primarily impacts the
 north metro area and simply shifts the problem to the north, compounding significant congestion issues
 that have yet to be addressed. NATA believes that keeping I-70 on its existing alignment with the Preferred
 Alternative is a solution that addresses the acute and chronic traffic congestion, and safety needs facing
 the corridor while balancing the interests of the local communities.

 Based on input received to date, support for the I-270/I-76 Reroute Alternative primarily comes from
 neighborhoods/stakeholders located outside of the impacted area.

 3.5.2        Impacts to Others

 The I-270/I-76 Reroute Alternative also creates new impacts to other areas and communities:

         The existing I-270 and I-76 highways traverse landfills and areas with known hazardous materials
          sites. Since the landfills have already caused structural issues for the roadways, it is already known
          that there would be substantial work necessary to correct those structural issues. There also would
          be new impacts to the landfills and other hazardous materials sites in the area with a reroute.
         Clear Creek and the South Platte River could have new impacts by the reroute that would cross
          Clear Creek multiple times and the South Platte River once. Therefore, biological impacts—
          including wetlands, waters of the U.S., and wildlife—could be increased compared to the impacts
          associated with the Preferred Alternative.
         There could be new, disproportionate impacts that would be placed on local communities with
          similar socio-economic challenges. An initial review of low-income and minority populations data
          indicates the reroute is lined with environmental justice communities, as well.
         Rerouting I-70 to the north could cause the congestion and safety issues to move to the north and
          onto the local roadway network, which would impact additional communities as well as the
          communities along the existing I-70.
         Removing I-70 and replacing it with a six-lane principal arterial (46th Avenue) means there would
          be several at-grade railroad crossings that would cause congestion and air quality impacts from
          traffic waiting for trains to pass. Homes along this route and Swansea Elementary School would be
          located directly adjacent to the six-lane principal arterial, which means the vehicles would be idling
          directly outside of the houses and school during congested conditions.
         Truck traffic would continue to be high through the neighborhood due to the amount of
          industrial/commercial businesses in the corridor. This truck traffic could end up using more of the
          local streets when there is congestion on 46th Avenue, increasing the truck traffic in the
          neighborhoods.
         None of the mitigation currently planned for the residents, businesses, or Swansea Elementary
          School in the Globeville and Elyria and Swansea neighborhoods would be provided, meaning no
          interior storm windows, upgrades to sidewalks/lighting, new classrooms, or air conditioning units.


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 4 CONCLUSION

 Based on the reasons discussed earlier in this memorandum, the project team eliminated the I-270/I-76
 Reroute Alternative in early stages of the alternatives screening process. The I-270/I-76 Reroute Alternative
 has been reexamined throughout the development of the Supplemental Draft EIS, Final EIS, and Record of
 Decision. The additional analyses continue to confirm that this alternative does not address the project’s
 purpose and need (safety, mobility, access) and, therefore, is not considered a reasonable and viable
 alternative. Since it is not a reasonable alternative, a full detailed analysis is not warranted.




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